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                UNITED STATES BANKRUPTCY COURT
                                Western District of Kentucky
      IN RE:                                                            Case No.:20−10057−jal
      Joe David Pitcock
                                                                        Chapter: 13
                                  Debtor(s)                             Judge: Joan A. Lloyd




                                NOTICE OF HEARING
      TO THE DEBTOR(S) AND ALL PARTIES IN INTEREST:

      PLEASE TAKE NOTICE that a hearing will be held in the above−referenced case as
      listed below to consider and act upon the matters listed below and transact other
      business as may properly come before the Court:

      Notice of Hearing regarding Motion to Strip Off Junior Lien of The Medical Center at
      Albany, et al regarding House & 1 acre located at 12385 Glasgow Road, Burkesville,
      KY 42717. Filed by Debtor Joe David Pitcock 15. ANY OBJECTION TO THE
      MOTION HEREIN SHALL BE FILED WITH THE COURT NO LATER THAN
      SEVEN DAYS PRIOR TO THE DATE OF HEARING. Hearing scheduled for
      3/19/2020 at 09:00 AM (Central Time) at Warren Co Justice Center, Circuit Courtroom
      B, 1001 Center St, Bowling Green, KY 42101. ANY PARTY WISHING TO APPEAR
      BY VIDEO CONFERENCE AT ONE OF THE VIDEO CONFERENCE SITES IN
      THE WESTERN DISTRICT MUST CONTACT THE COURT BY PHONE AT
      502−627−5600 NO LATER THAN TWO BUSINESS DAYS PRIOR TO THE
      SCHEDULED HEARING. cc: service list, The Medical Center at Albany, et al.
      (Graham, S)

      PLEASE TAKE ADDITIONAL NOTICE that should a continuance of the hearing be
      necessary for good cause shown, the movant shall request the continuance in writing,
      with notice to all parties in interest, no later than seven (7) days prior to the scheduled
      hearing.



      Dated: 2/7/20
                                                              FOR THE COURT
      By: slg                                                 Elizabeth H. Parks
      Deputy Clerk                                            Clerk, U.S. Bankruptcy Court
